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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION

ONLY AL-KHIDHR                                                             PLAINTIFF

                                               CIVIL ACTION NO.: 1:07cv1223LG-RHW
VERSUS

HARRISON COUNTY, MISSISSIPPI BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE,
IN HIS OFFICIAL CAPACITY;
SUPERVISOR OF BOOKING CAPTAIN RICK GASTON,
acting under color of state law,
CORRECTIONS OFFICER MORGAN THOMPSON,
acting under color of state law, CORRECTIONS OFFICER
THOMAS MOORE, acting under color of state law.                             DEFENDANTS

    DEFENDANTS GASTON AND THOMPSON’S RESPONSE IN OPPOSITION TO
      PLAINTIFF’S OBJECTIONS TO PROPOSED FINDINGS OF FACT AND
                         RECOMMENDATIONS

       COMES now Defendants Morgan Thompson and Rick Gaston and file this, their

response in opposition to Plaintiff’s Objections to Proposed Findings of Fact and

Recommendations [#200], and would show as follows:

       1.      Defendants Thompson and Gaston’s argument and authorities are set forth more

               fully in the accompanying memorandum in response to Plaintiff’s Objections to

               Proposed Findings of Fact and Recommendations [#200].

       2.      In support of the instant motion, Defendants Gaston and Thompson submit the

               following exhibits, to wit:

               A.     Exhibit “A” - Copy of October 23, 2009 email;

               B.     Exhibit “B” - Copy of October 26, 2009 email.



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       WHEREFORE, premises considered, Defendants Gaston and Thompson respectfully

request that this Court adopt the findings and recommendations by the United States Magistrate

Judge set forth more fully in “Proposed Findings and Recommendations” [#189]. Further,

Defendants Gaston and Thompson request that their Motion to Strike the designation of Dr.

Barry Crown, Thomas H. Christiansen and Plaintiff’s unidentified treating physicians be granted

as unopposed

       RESPECTFULLY SUBMITTED this 9th day of December, 2009.


                                                    MORGAN THOMPSON and RICK
                                                    GASTON,
                                                    Defendants

                                             BY:    /s/ IAN A. BRENDEL_________
                                                    JAMES L. DAVIS, III
                                                    IAN A. BRENDEL
                                                    Attorneys for Defendants

                                 CERTIFICATE OF SERVICE

        I, IAN A. BRENDEL, attorney at law, do hereby certify that I have this day electronically

filed the foregoing with the Clerk of the Court using the ECF filing system, and the same has been

electronically transmitted to:

Alvin Chase, Esq.
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        THIS the 9th day of December, 2009.

                                                  /s/ IAN A. BRENDEL__________
                                                       IAN A. BRENDEL


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